              Case 2:24-bk-01143-FMD           Doc 24     Filed 04/01/25     Page 1 of 2


                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA

 In re:     Ivan Melo Perez                                          Case No.: 2:24-bk-01143-
                                                                     FMD
                                                                     Chapter 13
                  Debtor                   /

                                     OBJECTION TO CLAIM

      NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

If you object to the relief requested in this paper you must file a response with the Clerk of Court
at (801 N. Florida Avenue, Suite 555, Tampa, Florida 33602) within (21) days from the date of
the attached proof of service, plus an additional three days if this paper was served on any party
by U.S. Mail.

If you file and serve a response within the time permitted, the Court will either notify you of a
hearing date or the Court will consider the response and grant or deny the relief requested in this
paper without a hearing. If you do not file a response within the time permitted, the Court will
consider that you do not oppose the relief requested in the paper, and the Court may grant or deny
the relief requested without further notice or hearing.

You should read these papers carefully and discuss them with your attorney if you have one. If the
paper is an objection to your claim in this bankruptcy case, your claim may be reduced, modified,
or eliminated if you do not timely file and serve a response.

          Debtor(s), Ivan Melo Perez, by and through the undersigned attorney, object to the proof

of claim filed in this case by ANNETTE SLOAN and in states:

   1. This case was commenced by the filing of a bankruptcy petition on July 31, 2024.

   2. ANNETTE SLOAN, (hereinafter “Creditor”) filed a purported proof of claim (Claim No.

          4) in the amount of $3,895.05 for an alleged personal injury itemized list.

   3. Debtor(s) object(s) to Claim No. 4 because Creditor is listing various charges for an

          alleged personal injury and death of her dog after the Creditor fired her own 9mm Glock

          and shot her own dog. The actual invoices are not attached to the proof of claim itself and

          Debtor objects to the claim without further proof. More importantly, this claim was listed

          as contingent, unliquidated, and disputed as the Debtor denies any and all liability.

          Therefore, this claim should be stricken and disallowed.

          WHEREFORE, the Debtor(s) respectfully request(s) that the Court: (1) Sustain the

Debtor(s) objection to the Creditor’s proof of claim; (2) Strike and Disallow the Claim; and (3)
            Case 2:24-bk-01143-FMD         Doc 24     Filed 04/01/25   Page 2 of 2


Grant any other such relief as the Court determines just and proper.


 Respectfully submitted:                  Jose A. Blanco, P.A.
 April 1, 2025                            By: /s/ Jose A. Blanco | FBN: 062449
                                          Attorney for Debtor(s)
                                          102 E 49th ST
                                          Hialeah, FL 33013,
                                          Tel. (305) 349-3463
                                          E-mail: jose@blancopa.com


                                    PROOF OF SERVICE
A true and correct copy of the foregoing has been sent by either electronic transmission or U.S.
Mail on April 1, 2025 to: John Waage, Trustee; Debtor; and Creditor as follows:

Debtor(s), Ivan Melo Perez
711 FARGO DR
Fort Myers, FL 33913

ANNETTE SLOAN
c/o Joseph R. North, Esq.
5220 Summerlin Commons Blvd. Suite 300
Fort Myers, FL 33907

Annette Sloan
727 Fargo Dr.
Fort Myers, FL 33913

 Respectfully submitted:                  Jose A. Blanco, P.A.
 April 1, 2025                            By: /s/ Jose A. Blanco | FBN: 062449
                                          Attorney for Debtor(s)
                                          102 E 49th ST
                                          Hialeah, FL 33013,
                                          Tel. (305) 349-3463
                                          E-mail: jose@blancopa.com
